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     Payments, Inc.; Facebook Technologies, LLC;
 8   Instagram, LLC; Siculus, Inc.; and Mark Elliot
     Zuckerberg
 9
     Additional parties and counsel listed on
10
     signature pages
11
                                 UNITED STATES DISTRICT COURT
12                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
13

14    IN RE: SOCIAL MEDIA ADOLESCENT                           MDL No. 3047
      ADDICTION/PERSONAL INJURY PRODUCTS
15    LIABILITY LITIGATION                                     Case No. 4:22-md-03047-YGR
16    THIS FILING RELATES TO:                                  Honorable Yvonne Gonzalez Rogers
17    ALL ACTIONS                                              OMNIBUS STIPULATION REGARDING
18                                                             SEALING MATERIAL IN SECOND
                                                               AMENDED MASTER COMPLAINT
19                                                             (PERSONAL INJURY)
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        OMNIBUS STIPULATION REGARDING SEALING MATERIAL IN SECOND AMENDED MASTER COMPLAINT (PERSONAL INJURY)
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 1             Pursuant to Civil Local Rules 7-11 and 79-5 and this Court’s Order Setting Sealing Procedures
 2   (Dkt. 341), Plaintiffs and Defendants Meta Platforms, Inc. f/k/a Facebook, Inc.; Facebook Holdings, LLC;
 3   Facebook Operations, LLC; Facebook Payments, Inc.; Facebook Technologies, LLC; Instagram, LLC;
 4   Siculus, Inc.; and Mark Elliot Zuckerberg (collectively, “Meta”) submit this Omnibus Stipulation
 5   Regarding Sealing Material in Second Amended Master Complaint (Personal Injury).
 6             The Parties agree that the following portions of Exhibit B to the Second Amended Master
 7   Complaint (a copy of a complaint filed by the New Mexico Attorney General against Meta in another
 8   proceeding, hereafter “NM AG Compl.”) should be sealed:
 9
      Filing       Paragraph and Portion to be     Basis for Sealing
10                 Sealed
      Ex. B        38 (Table after “January      For the reasons explained in the accompanying
11                 2023:”)                       Declaration of Philip Morgan Brown, the information
                                                 contained in these charts—which includes granular user
12                                               metrics that are not publicly revealed—is proprietary,
                                                 confidential, and would cause Meta competitive harm if
13
                                                 disclosed. At this procedural posture, there are
14    Ex. B        39 (Table after “below:”)     compelling reasons to seal such information. See, e.g.,
                                                 Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d
15                                               1092, 1097 (9th Cir. 2016) (there are compelling reasons
                                                 to seal “business information that might harm a litigant’s
16                                               competitive standing” (cleaned up)); In re Elec. Arts,
17                                               Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (sealing
                                                 “confidential and commercially sensitive information”);
      Ex. B        40 (Table after “Instagram:”  Prescott v. Reckitt Benckiser LLC, 2023 WL 2465778, at
18
                   and table after “Facebook:”)  *4 (N.D. Cal. Mar. 9, 2023) (sealing “household
19                                               penetration rates” and defendant’s “target consumer
                                                 demographics”); Cont’l Auto. Sys., Inc. v. Avanci, LLC,
20                                               2019 WL 6612012, at *4 (N.D. Cal. Dec. 5, 2019)
21                                               (sealing “number of customers using Plaintiff’s
                                                 products”).
22    Ex. B        224 (In image: name in column The filing contains the names of current and former Meta
                   “OWNER” before “Antigone      employees not alleged to be decision-makers or otherwise
23                 Davis”)                       central to the case. At this procedural posture, there are
                                                 compelling reasons to seal those names. See, e.g., Murphy
24
                                                 v. Kavo Am. Corp., 2012 WL 1497489, at *1 (N.D. Cal.
25                                               Apr. 27, 2012) (granting motion to seal “employee-
                                                 identifying information” because “[e]mployees and
26                                               former employees who are not parties to this litigation
                                                 have privacy interests in their personnel information, and
27                                               in other sensitive identifying information”) (Gonzalez
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 1   Ex. B     224 (In image: name in column Rogers, J.); see also, e.g., Am. Auto. Ass’n of N.
               “OWNER” after “Antigone           California, Nevada & Utah v. Gen. Motors LLC, 2019 WL
 2             Davis”                            1206748, at *2 (N.D. Cal. Mar. 14, 2019); Opperman v.
 3                                               Path, Inc., 2017 WL 1036652, at *4 (N.D. Cal. Mar. 17,
                                                 2017); Hunt v. Cont’l Cas. Co., 2015 WL 5355398, at *2
 4                                               (N.D. Cal. Sept. 14, 2015). Sealing these names is also
                                                 consistent with the approach this Court took in sealing
 5                                               names of Meta employees in the Personal Injury
                                                 Plaintiffs’ Master Complaint and the multistate Attorney
 6
                                                 General Complaint. See Dkt. 189; Case No. 4:23-cv-
 7                                               05448-YGR, Dkt. 77.
     Ex. B     248 (From after “with             For the reasons explained in the accompanying
 8             children:” to before “this is the Declaration of Ravi Sinha, this information—which is
               worst”)                           non-public and concerns Meta’s child safety and CSAM
 9                                               detection, reporting, and prevention capabilities,
                                                 processes, and systems—would provide insights to
10   Ex. B     248 (From after “Also
                                                 predators and other bad actors that could enable them to
               because” to before “Elsewhere,
11                                               avoid Meta’s child safety reporting, detection, and
               Meta”)
                                                 enforcement systems. At this procedural posture, there
12                                               are compelling reasons to seal it. See, e.g., Kamakana v.
     Ex. B     248 (From after “Meta             City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir.
13             acknowledged” to before “of       2006) (sealing is proper when “court files might . . .
14             Tier 2”)                          become a vehicle for improper purposes” (cleaned up));
                                                 Connor v. Quora, Inc., 2020 WL 6700473, at *2 (N.D.
15                                               Cal. Nov. 13, 2020) (sealing information “that could be
     Ex. B     248 (From after
                                                 used by a bad actor to exploit and breach Quora’s
16             “communication services;” to
                                                 systems”); Adtrader, Inc. v. Google LLC, 2020 WL
               before “and warned”)
                                                 6387381, at *2 (N.D. Cal. Feb. 24, 2020) (sealing
17                                               information that “could . . . alert[] individuals who seek
18                                               to circumvent Google’s detection systems”); see also,
                                                 e.g., Campbell v. Grounds, 2022 WL 14151744, at *1
19                                               (N.D. Cal. Oct. 24, 2022) (sealing information that
                                                 “could put at risk the safety of one or more individuals if
20                                               made public”).
     Ex. B     258 (Name in image before         Employee names (see above rationale)
21
               “(7/09/2020 11:42…”)
22   Ex. B     258 (Name in image from after
               “TikTok)?” to before
23             “(7/09/2020…”)
     Ex. B     259 (In image from after “State Information could enable bad actors (see above rationale)
24             of Play” to before “Data:
               under”)
25
     Ex. B     259 (In image from after
26             “valuable insights” to before
               “User education”)
27

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       OMNIBUS STIPULATION REGARDING SEALING MATERIAL IN SECOND AMENDED MASTER COMPLAINT (PERSONAL INJURY)
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 1       Ex. B        259 (In image from after “size
                      limitations” to bottom of
 2                    image column)
 3       Ex. B        259 (In image from after
                      “significant investment” to
 4                    before “in x-industry”)
         Ex. B        259 (In image from after
 5                    “resource hub” to before
                      “Offer legislative”)
 6
         Ex. B        264 (From after “as a friend
 7                    and” to end of paragraph)
         Ex. B        374 (Name from after “Meta        Employee names (see above rationale)
 8                    employee” to before
                      “announced her”)
 9       Ex. B        EXHIBIT 1, slide 1 (Name
10                    from after “Data collection:
                      June 27-July 8, 2021” until
11                    “(UXR) Signals and Insights
                      Platform”)
12
                 The Parties agree that portions of the exhibits not listed in the chart above may be unsealed. 1 Meta
13
     does not waive, and expressly reserves, its right to move to seal other material from, or derived from,
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     documents quoted, paraphrased, characterized, or otherwise cited in the filings. The confidentiality or
15
     appropriateness of sealing material other than that cited in the filings is not currently at issue, and Meta
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     does not waive any right with respect to that material. Plaintiffs’ agreement to allow portions of the NM
17
     AG Compl. to remain under seal is made in a good faith effort to resolve the current dispute and is not a
18
     concession that the agreed redactions are mandated by law or the arguments Meta has made. Plaintiffs’
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     agreement extends solely to the copy of the NM AG Compl. attached as Exhibit B to the Plaintiffs’ Second
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     Amended Master Complaint and, as such, does not extend to any underlying documents or information
21
     within those documents. Plaintiffs reserve all rights to oppose sealing this same or similar information in
22
     the future, as well as to unseal or de-designate the NM AG Compl. in its entirety in the future.
23
                 Pursuant to this case’s sealing procedures, a Proposed Order implementing this stipulation and a
24
     copy of the complaint with the redactions agreed by the Parties listed above are attached.
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26   1
      The unsealed version of the New Mexico Attorney General’s Complaint contains redactions and
27   blurring of potentially graphic material made by the Attorney General. As far as Plaintiffs and Meta are
     aware, there is no filed version of the complaint that removes those redactions or blur, and the Parties do
28   not seek to remove them here.

                                                              3
           OMNIBUS STIPULATION REGARDING SEALING MATERIAL IN SECOND AMENDED MASTER COMPLAINT (PERSONAL INJURY)
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 1        IT IS SO STIPULATED AND AGREED.
 2
     DATED: January 17, 2024                            Respectfully submitted,
 3

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                                                           Facebook Operations, LLC; Facebook Payments,
24                                                         Inc.; Facebook Technologies, LLC; Instagram,
                                                           LLC; Siculus, Inc.; and Mark Elliot Zuckerberg
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       OMNIBUS STIPULATION REGARDING SEALING MATERIAL IN SECOND AMENDED MASTER COMPLAINT (PERSONAL INJURY)
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     OMNIBUS STIPULATION REGARDING SEALING MATERIAL IN SECOND AMENDED MASTER COMPLAINT (PERSONAL INJURY)
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 1
                                                ATTESTATION
 2
            I, Ashley M. Simonsen, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence
 3
     to the filing of this document has been obtained from each signatory hereto.
 4

 5    DATED: January 17, 2024                       By:        /s/ Ashley M. Simonsen
 6                                                              Ashley M. Simonsen

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        OMNIBUS STIPULATION REGARDING SEALING MATERIAL IN SECOND AMENDED MASTER COMPLAINT (PERSONAL INJURY)
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